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Attorneys for Plaintiffs




                                 UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON



KELSEY CASCADIA ROSE JULIANA;                         Case No.: 6:15-cv-01517-TC
XIUHTEZCATL TONATIUH M., through his
Guardian Tamara Roske-Martinez; et al.,
                   Plaintiffs,                        DECLARATION OF DR. MARK
                                                      JACOBSON in Support of Plaintiffs’
v.                                                    Response in Opposition to Defendants’
                                                      Motion for Summary Judgment
The UNITED STATES OF AMERICA;
DONALD TRUMP, in his official capacity as
President of the United States; et al.,
                   Defendants.




       Declaration of Dr. Mark Jacobson in Support of Plaintiffs’ Response in
       Opposition to Defendants’ Motion for Summary Judgment
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         I, Dr. Mark Jacobson, hereby declare and if called upon would testify as follows:

1. I have been retained as an expert on behalf of Plaintiffs in this matter.

2. I have prepared an expert report for this litigation (“Expert Report”), a true and correct copy

         of which is attached hereto as Exhibit 1. My Expert Report is signed by me. A copy of my

         Expert Report was served on Defendants on April 13, 2018.

              a. Attached as Exhibit 2 to this Declaration are Exhibits E through H to my Expert

                 Report, the central papers discussed within my Expert Report.

3. Since my Expert Report was finalized, two independent, peer-reviewed studies have been

         published that support my expert opinion that countries, including the United States, can

         transition feasibly and economically to 100% renewable energy by mid-century. The first

         paper is, The feasibility of 100% renewable electricity systems: A response to critics, by

         Mark Diesendorf and Ben Ellison, published in Renewable and Sustainable Energy Reviews,

         93, 318-330 (2018), true and correct copy of which is attached hereto as Exhibit 3. The

         second paper is, Response to ‘Burden of proof: A comprehensive review of the feasibility of

         100% renewable-electricity systems,’ by T.W. Brown, T. Bischof-Niemz, K. Blok, C.

         Breyer, H. Lund, and B.V. Mathiesen, published in Renewable and Sustainable Energy

         Reviews, 92, 834-847 (2018), a true and correct copy of which is attached hereto as Exhibit

         4.

4. One of the papers, Diesendorf and Elliston, stated: “We find that the principal barriers to

         100[% renewable electricity] are neither technological nor economic, but instead are

         primarily political, institutional and cultural.”

5. My Expert Report contains:




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             a. a complete statement of all opinions I will express at trial and the basis and reasons

                for these opinions;

             b. the facts or data considered by me in forming my opinions;

             c. any exhibits that I currently plan to use to summarize or support my opinions;

             d. my qualifications, including a list of all publications authored by me in the previous

                10 years;

             e. a list of all other cases in which, during the previous 4 years, I testified as an expert at

                trial or by deposition, if any; and

             f. a statement of the compensation to be paid for the study and testimony in the case.

6. If called to testify in this matter, I would provide testimony as described in the attached

         Expert Report.

             In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

             DATED this 25th day of June, 2018.

                                                            Respectfully submitted,



                                                            Dr. Mark Jacobson




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